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                   UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

DANIELLE DOBIAS,                                     )
                                                     )
                              Plaintiff,             )
                                                     )
                       v.                            )         No: 15-cv-05594
                                                     )
THE BOARD OF EDUCATION OF                            )
OAK PARK AND RIVER FOREST                            )
HIGH SCHOOL DISTRICT 200,                            )
THOMAS TARRANT, individually, and                    )
JOHN STELZER, individually                           )
                                                     )
                              Defendants.            )
                                 STIPULATION TO DISMISS

       The parties, through their respective counsel, by stipulation pursuant to FRCP 41

(a)(1)(A)(ii), having informed the court that all matters in controversy are settled, hereby request

that this honorable Court dismiss the above-captioned case with prejudice with each party paying

their own costs and attorneys’ fees, with the right to reinstate in the event any payment due is not

timely made.

        Respectfully submitted,                          Respectfully submitted,
        Plaintiff,                                       Defendants,
        By: /s/ Nicholas F. Esposito                     By: /s/ Jennifer L. Jones
        One of her Attorneys                             One of their Attorneys

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